 Case 8:24-cv-01285-JWH-ADS Document 23 Filed 08/02/24 Page 1 of 3 Page ID #:131




 1           r \~~          ~/           ~/ r V l~~          ull Name)


 2                                                         (Email Address)             FILED -SOUTHERN DIVISION
                                                                                       CLERK U.S. DISTRICT COURT
 3    ~~QZ,~            ~j-pC►tiQ/V          ~f~/(Address Line 1)


 4   ,~,~~Q          ~'~           .Q       f~/            (Address Line 2)            ~       ~~~         ~ ~~


 5     ~f ~        ~y'~`~ ~,i
                            ~, _(Phone Number)                                         'I        ~TRICT OF CALIDFORNTM
                 '
                 ,                                                                    BY
 6             a ~ n`~'6                  in Pro Per
     (indicate Plaintiff or Defen ant)
 7


 8
                                          UNITED STATES DISTRICT COURT
 9                                       CENTRAL DISTRICT OF CALIFORNIA
10
                r~                                                             Case No.: ~:~~_ ~ti-~ a~a.$5. ~"N~-                        SX
11
12                         Plaintiff,
                                                                              ~~c~r~ I~                                  's
13              VS.                                                            (m
                                                                                ~i
                                                                                 ~c   laintiff or Defendant)

                                                                              DECLARATION IN SUPPORT OF
14                                                          v~ '°~
                                                                               OPPOSITION TO MOTION
15
                                                                               ~~~'lu/~~ ~v~ ~'hC~ {~ jair+~1
16
17                         Defendant(s).

la                                                                            ~ ~ L..~.o~- 3'v~ l3 ~~Lt
                                                                              Hearing Date: Au ~ US~ ~3,o~Eloz''I
19
                                                                              Hearing Time: ~:CX~ 0/►'1
20
                                                                              Judge: ~v~ , ~~ 1/V,                              p ~ cal
21                                                                                                             (Judge's name)
                                                                              Place: C~r~~
22                                                                                                       (courtroom number)

23                             r

     I,                                      Cj                       ~                       ,declare as follows:
24                                          (print name)

25
                1.        Iam the                                   t'1                         in the above-entitled case.
26                                               (indicate Plaintiff or Defendant)
                2.        Ihave personal knowledge of the following facts, and, if called as a
27
     ~ witness,Icould and would competently testify thereto.
28

       Revised.' March 2017
       Form Prepared by Public Counsel
       D 2011, 2017 Public Counsel. A!! Rights
       Reserved.
                                                                      Declaration
 Case 8:24-cv-01285-JWH-ADS Document 23 Filed 08/02/24 Page 2 of 3 Page ID #:132




 1

 2

 3

 4

 5

 6                              ~~
 7       5.
 8

 9

10

11

12

13       7.
14

15

16

17

18

19

20

21

22       10.
23

24

25

26

27

28




                                        2
                                    Declaration
 Case 8:24-cv-01285-JWH-ADS Document 23 Filed 08/02/24 Page 3 of 3 Page ID #:133




 1       11.
 2
 3
 4       12.
 5
 6
 7       13.
 8
 9
l0       14.
11
12

13       15.
14
15
16       I declare under penalty of perjury that the foregoing is true and correct.
17       Executed on     $-02~ o~c~a'~                ,in g'~I v~ , ~j(~
                            (date of signing)                                       (ci ,state of signing)
18
                                                             L

19                                              '
                                                i~~r G
                                                (signature)
20
21                                                    r
                                                (name)
22
                                                         c
23                                                   ~1~ ~                            in Pro Per
                                                  ndicate Plaintiff or Defe dant)

24
25
26
27
28




                                                    3
                                                Declaration
